    Case 2:12-cv-00859-LMA-MBN Document 1602 Filed 05/18/23 Page 1 of 1




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

LASHAWN JONES, ET AL                                         CIVIL ACTION

VERSUS                                                       NO. 12-859

MARLIN GUSMAN, ET AL                                         SECTION I


                                   ORDER

      This Court is in receipt of the Court requested email from Dr. Nicole

Johnson regarding concerns that she encountered at the Orleans Justice Center

during her May 16, 2023 and December 6, 2022 visits.

      The Court requests that Wellpath file a written response to each of the

concerns and that Wellpath advise the Court how it intends to address the

deficiencies noted in the email and at the hearing. Wellpath should provide a

written response by June 19, 2023. Accordingly,

      IT IS ORDERED that a copy of this Order be provided to Wellpath by

mailing a copy of it to their attorney, E. Paige Sensenbrenner, Esq., Adams &

Reese, LLP, 701 Poydras Street, Suite 4500, New Orleans, Louisiana 70139.

      New Orleans, Louisiana this 17th day of May, 2023.



                                     ______________________________________
                                           LANCE M. AFRICK
                                     UNITED STATES DISTRICT JUDGE
